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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                           Case No. _ __,; ; 2=2-.. ;Ca.,:;R;.; ;.-. .;:;.8. ;:;. .01=7.. .; ;-C=AN~"""N
                                                                                              3_       """'O'-"N""-'"'(s'""")_ __
                                                18 U.S.C. § 2251(d) & (e)
                                                18 U.S.C. § 2252A(a)(2) & (b)(l)
                                                18 U.S.C. § 2252A(g)
                                                18 u.s.c. § 2253


    UNITED STATES OF AMERICA

    vs.
                                                                                                                                    NOV 17 2022
    GREGORY MALCOLM GOOD and
                                                                                                                                     ANGELA E. NOBLE
    WILLIAM MICHAEL SPEARMAN,                                                                                                       CLERK U.S. DIST. CT.
                                                                                                                                    S.O. OF FLA. - W.P.B.

         Defendants.
    ________________ /

                                            SUPERSEDING INDICTMENT

           The Grand Jury charges th at:

                                               COUNT 1
                                       18 U.S.C. § 2251(d) and (e)
                              (Conspiracy to Advertise Child Pornography)

           Beginning in or aro und March 2018, the exact date being unknown to the Grand Jury, and

    conti nuing through on or about November 2, 2022, in Palm Beach County, in the Southern District

    of Florida, and elsewhere, th e defendants,

                                        GREGORY MALCOLM GOOD
                                                  and
                                       WILLIAM MICHAEL SPEARMAN,

    did knowingly and w illfully conspire w ith each other and w ith other persons known and unknown

    to the Grand Jury to knowingly make, print, and publish, and cause to be made, pri nted, and

    pu bl ished, by means of an internet we bsite whose common name is known to the Grand Jury and

    is referred to herein as "Website A ," any notice and advertisement seeking and offering to receive,
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    exchange, buy, produce, display, distribute, and reproduce any visua l depiction, the production of

    such vis ual depiction invo lved the use of a minor engaging in sexua lly exp licit conduct and such

    visual depiction was of such conduct, knowing and having reason to know that such notice and

    advertisement wou ld be transported using any means and fac ili ty of interstate and foreign

    commerce and in and affecting interstate and fo reign com merce by any means including by

    computer, and such notice and adve rti sement was transported using any means and facility of

    interstate and fore ign commerce and in and affecting interstate and foreign commerce by any

    means including by computer, a ll in violation of T itl e 18, United States Code, Section 2251 (d) and

    (e).

                                              COUNT2
                                  18 U.S.C. § 2252A(a)(2) and (b)(l)
                             (Conspiracy to Distribute Child Pornography)

           Beginning in or aro und March 20 18, the exact date being unknown to the Grand Jury, and

    continuing through on or about November 2, 2022 , in Pa lm Beach Co unty, in the Southern District

    of F lorida, and elsewhere, the defendants,

                                  GREGORY MALCOLM GOOD
                                            and
                                 WILLIAM MICHAEL SPEARMAN,

    did knowingly and w illfull y conspire with each other and with other persons known and un known

    to the Grand Jury to distribute child pornography, as defined in 18 U.S.C. § 2256(8)(A) , and

    material contain ing child pornography, by means of an intern et website whose common name is

    known to the Grand Jury and is referred to herein as "Webs ite A," using any means and facility of

    interstate and fore ign commerce, and that had been shipped and transported in and affecting

    interstate and fore ign commerce by any means, inc luding by computer, all in vio lation of Title 18,

    United States Code, Section 2252A(a)(2) and (6)(1).




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                                               COUNT3
                                          18 U.S.C. § 2252A(g)
                              (Engaging in a Child Exploitation Enterprise)

            Beginning in or around March 20 18, and continuing through on or about November 2,

    2022, in Palm Beach County, in the Southern Di strict of F lorid a, and elsewhere, the defendant,

                                   WILLIAM MICHAEL SPEARMAN,

    and other persons known and unkn own to the Gra nd Jury, knowingly engaged in a child

    exp loitation enterpri se, in that the defendant v io lated C hapte r 110 of Title 18 of the United States

    Code, as part of a se ri es of fe lony violations co nstitutin g three or more separate inc idents and

    involving more than one v ictim, and comm itted those offenses in concert with three or more other

    persons, all in vio lat ion of T itl e 18, United States Code, Section 2252A(g).

                                               FORFEITURE

            1.      The all egations of this Supersedin g Indictment are re-alleged and by thi s reference

    fu lly incorporated herein fo r the purpose of a ll eging forfe iture to th e United States of America of

    certain property in w hich the defe nd ants, GREGORY MALCOLM GOOD and WILLIAM

    MICHAEL SPEARMAN, have an interest.

            2.      Upon conv icti on of a vio lati o n of Title 18, United States Code, Section 225 1 or

    2252A, as a ll eged in thi s Superseding Indictme nt, the defendants, GREGORY MALCOLM

    GOOD and WILLIAM MICHAEL SPEARMAN, shall fo rfeit to the U nited States, pursuant to

    Title 18, U nited States Code, Section 2253:

                   (a)      any v isual depiction described in T itle 18, United States Code, Sections

    225 1, 2251 A, 2252, 2252A, 2252B, or 2260 or any book, magazine, periodical , fi lm , v ideotape,

    or .other matter w hi ch contains any such visual dep iction, which was produced , transported, mailed ,

    shipped or received in vio lation of C hapter 110 of Title 18, United States Code;




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                  (b)     any property, real or personal , co nstituting or traceable to gross profits or

    other proceeds which the defendant obtained from such offense; and

                  (c)     any property, real or personal , used or intended to be used to commit or to

    promote the com mi ss ion of the offense or any property traceable to such property;

           3.     The property which is subj ect to forfeiture includes, but is not limited to, the

    following:

                          i. The real property located at 11 5 Ro lling Lea Pl. , Madison, A labama
                          35758.

           A ll pursuant to T itle 18, United States Code, Section 2253(a) , and the procedures set forth

    at T itl e 21 , United States Code, Section 853 , as incorporated by Title 18, Uni ted States Code,

    Section 2253(b).

                                                                 A TRUE BILL




    JUAN ANTONIO GONZALEZ
    UNITED STA TES ATTORNEY



    ~s~
    ~ILLER
    ASS IST ANT UNITED STA TES ATTORNEY




    TRIAL ATTORNEY
    U .S. DEPARTMENT OF JUSTICE, CRIMINAL DIVI SJON
    CHILD EXPLOITATION AND OBSCENITY SECTION




                                                     4
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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                        CASE NO.: 22-CR-80173-CANNON(s)

v.
                                                                CERTIFICATE OF TRIAL ATTORNEY*
GREGORY MALCOLM GOOD and
WILLIAM MICHAEL SPEARMAN,                                       Superseding Case Information:
                 Defendants.                     I
Court Division (select one)                                     New Defend ant(s) (Yes or No)        YES
   □ Miami        □ Key West                 □ FTP              Number of New Defenda nts             1
   □ FTL          El WPB                                        Tota l number of New Co unts          1

I do hereby certify that:
   I.   I have carefull y considered the allegation s of the indi ctment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Informatio n attached hereto.

     2.    I am aware that the info rm ation supplied on this stateme nt wi ll be relied upon by the Judges of this Co urt in setting
           their calend ars and scheduling crim inal tri als under the mandate of th e Speedy Tri al Act, Title 28 U.S.C. §3 16 1.

     3.    Interpreter: (Yes or No) No
           List language and/or dialect:
     4.    This case wi ll take   10 days for the parti es to try.

     5.    Please check appropriate category and type of offense li sted below:
           (Check only one)                            (Check o nl y one)
           I     D Oto     5 days                    D Petty
           II    El 6 to 10 days                     D Minor
           III   D 11 to 20 days                     D Misdemeanor
           IV    D 2 1 to 60 days                    □ Felony
           V     D 61 days a nd over
     6.    Has this case been previ ous ly fi led in thi s Di stri ct Cou rt? (Yes or No) Yes
           If yes,                        Case No.22-CR-80173-CANNON
     7.    Has a complaint been fil ed in this matter? (Yes or No) Yes
           If yes, Magistrate Case No . 22-mj-08444 ; 22-mj-08 5 10
     8.    Does this case relate to a prev io usly fil ed matter in thi s Di stri ct Court? (Yes or No) Yes
           If yes, Judge     CANNON                                            Case No. 22-CR-80107-AMC
     9.    Defendant(s) in federa l custody as of October 4, 2022 (Good); November 2, 2022 (Spearman)
     10.   Defendant(s) in state custody as of
     1J.   Rule 20 from the                   Distri ct of
     12.   Is this a potential death penalty case? (Yes or No) No
     13.   Does this case originate from a matter pending in the Northern Regio n of th e U.S. Attorney ' s Office
           prior to August 8, 20 J4 (Mag. Judge Shani ek Maynard? (Yes or No) No
     14.   Does this case orig inate from a matter pending in th e Central Region of the U.S. Attorney ' s Office
           prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No




                                                                By:

                                                                            Ass istant United States Attorney
                                                                            FLA Bar No.        0648477
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENAL TY SHEET

    Defendant' s Name: GREGORY MALCOLM GOOD

               22_-_C_R_-8_0_1_73_-_C_A_NN_O_N----'--(s-'--)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    Case No: _ _

    Count #1:

    Conspiracy to advertise child pornography

    18 U.S.C. § 225 l(d) and (e)
    * Max. Term oflmprisonment: 30 years
    * Mandatory Min. Term oflmprisonment (if applicable): 15 years
    *Max.Supervised Release: Life (mandatory minimum term of 5 years)
    * Max. Fine: $25 0,000 fine and a $5 ,000 spec ial assess ment

    Count #2 :

    Conspiracy to distribute child pornography
    18 U.S.C. § 2252A(a)(2) & (6)(1)
    * Max. Term oflmprisonment: 20 years
    * Mandatory Min. Term of Imprisonment (if applicable): 5 years
    *Max.Supervised Release: Life (mandatory minimum term of 5 years)
    * Max. Fine: $25 0,000 fine and a $5,000 spec ial assessment




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENAL TY SHEET

    Defendant' s Name: WILLIAM MICHAEL SPEARMAN

    Case No: 22-CR-8017 3-CANNON (s)

    Count # 1:

    Conspiracy to adverti se child pornography

    18 U.S.C. § 225 1(d) and (e)
    * Max. Term oflmprisonment: 30 years
    * Mandatory Min. Term oflmprisonment (if applicable): 15 years
    *Max.Supervised Release: L ife (mandatory minimum term of 5 years)
    * Max. Fine: $25 0,000 fin e and a $5,000 special assessment

    Count #2:

    Conspiracy to distribute child pornography

    18 U .S.C. § 2252A(a)(2) & (b)(l)
    * Max. Term oflmprisonment: 20 years
    * Mandatory Min. Term of Imprisonment (if applicable): 5 years
    * Max.Supervised Release: Life (mandatory minimum term of 5 years)
    * Max. Fine: $25 0,000 fine and a $5,000 spec ial assessment

    Count #3:

    Child exploitation enterprise

    18 U.S.C. § 2252A(g)
    * Max. Term oflmprisonment: Life
    * Mandatory Min. Term oflmprisonment (if applicable): 20 years
    *Max.Supervised Release: Life (mandatory minimum term of 5 years)
    * Max. Fine: $25 0,000 fine and a $5,000 special assessment




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
